                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE



 UNITED STATES OF AMERICA                    )
                                             )
 v.                                          )     CASE NO. 3:12-CR-3-PLR
                                             )
 IRA FULTZ                                   )




                            MEMORANDUM AND ORDER


       This matter is before the court on the defendant’s motion for sentence reduction

 pursuant to Amendment 782 to the United States Sentencing Guidelines [R. 341]. The

 government has responded deferring to the court’s discretion whether and to what extent

 to reduce defendant’s sentence [R. 347].        The United States Probation Office has

 provided the court with a memorandum regarding retroactivity of Amendment 782. The

 defendant is presently scheduled for release on February 16, 2017.

       The defendant was convicted of conspiracy to distribute and possession with intent

 to distribute Oxycodone, in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(C). At

 sentencing, defendant’s base offense level was 27, with a criminal history category V,

 resulting in an advisory guideline range of 120 - 150 months. Prior to sentencing, the

 government filed a motion for downward departure for substantial assistance. Defendant

 was sentenced on October 5, 2012, to 84 months imprisonment (30% reduction).




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       Amendment 782 reduces the guideline range applicable to defendant. Pursuant to

 Amendment 782, defendant’s base offense level is 25, with a criminal history category V,

 resulting in an amended guideline range of 100 - 125 months. Giving defendant a

 comparable adjustment (30% reduction), and taking into account the policy statements set

 forth at USSG § 1B1.10 and the sentencing factors set forth in 18 U.S.C. § 3553(a), it is

 hereby ORDERED that the defendant’s motion [R. 341] is GRANTED, and the

 defendant’s sentence is reduced to 70 months.

       If this sentence is less than the amount of time the defendant has already served,

 the sentence is reduced to a “time served” sentence. See USSG § 1B1.10(b)(2)(C).

       Except as provided above, all provisions of the judgment dated October 9, 2012,

 shall remain in effect. The effective date of this order is November 2, 2015. See

 USSG § 1B1.10(e)(1).

       IT IS SO ORDERED.

       Enter:




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